21-3615 Lisa Biron v. Michael Carvajal, et al


                              Eighth Circuit Court of Appeals

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